                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 1 of 31
                                                                                         F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   METZGER LAW GROUP
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com

                                                          A PROFESSIONAL LAW CORPORATION
                                                      2   RAPHAEL METZGER, ESQ., SBN 116020
                                                          SCOTT P. BRUST, ESQ., SBN 215951
                                                      3   555 E. OCEAN BLVD., SUITE 800
                                                          LONG BEACH, CA 90802
                                                      4   TELEPHONE: (562) 437-4499
                                                          TELECOPIER: (562) 436-1561
                                                      5   WEBSITE: www.toxictorts.com

                                                      6   Attorneys for Intervenor-Defendant,
                                                          COUNCIL FOR EDUCATION AND
                                                          RESEARCH ON TOXICS (“CERT”)
                                                      7
                                                      8                                UNITED STATE DISTRICT COURT
                                                      9                               EASTERN DISTRICT OF CALIFORNIA
                                                     10
                                                     11
               555 east ocean boulevard, suite 800




                                                           CALIFORNIA CHAMBER OF                                              Civil No. 2:19-cv-02019-DAD-JDP
                 a professional law corporation




                                                           COMMERCE,
                  long beach, california 90802




                                                     12                                                                       Assigned to the Hon. Dale A. Drozd
metzger law group




                                                                         Plaintiff,
                                                     13                                                                       INTERVENOR-DEFENDANT CERT’S
                                                                  vs.                                                         MEMORANDUM OF POINTS AND
                                                     14                                                                       AUTHORITIES IN SUPPORT OF ITS
                                                           XAVIER BECERRA, IN HIS OFFICIAL                                    MOTION TO DISMISS FOR LACK OF A
                                                     15    CAPACITY AS ATTORNEY GENERAL                                       CASE OR CONTROVERSY
                                                           OF THE STATE OF CALIFORNIA,
                                                     16                                                                       [NOTICE OF MOTION AND MOTION,
                                                                         Defendant,                                           AND DECLARATIONS OF RAPHAEL
                                                                                                                              METZGER AND SCOTT P. BRUST
                                                     17                                                                       CONCURRENTLY FILED HEREWITH]
                                                           COUNCIL FOR EDUCATION AND
                                                     18    RESEARCH ON TOXICS,
                                                                                                                              DATE:      December 7, 2021
                                                                         Intervenor-Defendant.                                TIME:      9:30 a.m.
                                                     19                                                                       COURTROOM: 5
                                                     20
                                                     21
                                                     22
                                                     23
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24
                                                     25
                                                     26
                                                     27
                                                     28

                                                                 INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                 IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 2 of 31
                                                                                                   F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com
                                                                                                        TABLE OF CONTENTS
                                                                                                                                                                                                                         PAGE
                                                      2
                                                          1.   PRELIMINARY STATEMENT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
                                                      3
                                                          2.   SUMMARY OF FACTS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
                                                      4
                                                               A.        Proposition 65 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
                                                      5        B.        Intervenor-Defendant, Council for Education and Research on Toxics . . . . . . . . . 2
                                                               C.        The Coffee Litigation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
                                                      6        D.        This Litigation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                                                      7   3.   ABSENT A CASE OR CONTROVERSY WITHIN ARTICLE III OF THE U.S.
                                                               CONSTITUTION, THIS COURT LACKS JURISDICTION TO ADJUDICATE
                                                      8        THIS CASE AND MUST DISMISS THIS CASE . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
                                                      9   4.   THERE MUST BE AN “HONEST AND ACTUAL ANTAGONISTIC ASSERTION
                                                               OF RIGHTS” BY THE PLAINTIFF AND THE DEFENDANT FOR THERE TO BE
                                                     10        AN ARTICLE III CASE AND CONTROVERSY. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
                                                     11
               555 east ocean boulevard, suite 800




                                                          5.   THE INTERESTS OF CAL CHAMBER AND THE CALIFORNIA ATTORNEY
                                                               GENERAL ARE ALIGNED, RATHER THAN ADVERSE. . . . . . . . . . . . . . . . . . . . . . . 8
                 a professional law corporation
                  long beach, california 90802




                                                     12
metzger law group




                                                               A.        For the Past 35 Years the Attorney General Has Represented OEHHA and Its
                                                     13                  Predecessor Agency in their Efforts to Nullify Proposition 65 Enforcement with
                                                                         Respect to Acrylamide in Food. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
                                                     14        B.        The Governor of the State of California Has Long Been Hostile to the
                                                                         Application of Proposition 65 to Acrylamide in Food . . . . . . . . . . . . . . . . . . . . . 10
                                                     15        C.        The Attorney General’s Conduct of This Litigation Demonstrates That The
                                                                         Attorney General Is Serving The Desires of The Governor and OEHHA To
                                                     16                  Undermine Proposition 65 With Respect To Acrylamide In Food Rather Than
                                                                         Defending Proposition 65, As Is His Primary Duty . . . . . . . . . . . . . . . . . . . . . . . 12
                                                     17        D.        The Attorney General’s Representation of the Interests of OEHHA and the
                                                                         Governor in Undermining Proposition 65 With Respect to Acrylamide in
                                                     18                  Food Conflicts With His Primary Duty to Defend This Duly Adopted
                                                                         Important Public Health Law . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
                                                     19
                                                          6.   THIS COURT DOES NOT HAVE BEFORE IT THE REAL PARTIES IN INTEREST
                                                     20        OR AN ACTUAL CASE OR CONTROVERSY BETWEEN PERSONS WHO ARE
                                                     21        REAL PARTIES IN INTEREST . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

                                                     22        A.        CalChamber Is Not A Real Party In Interest in This Case; Moreover, It
                                                                         Has Refused to Identify Those of its Members Who May Be Real Parties in
                                                     23                  Interest in This Case, Let Alone Join Them as Parties Plaintiff in This Case . . . 17
               occupational & environmental lung
               disease, cancer, and toxic injuries




                                                               B.        The Attorney General Also Is Not a Real Party in Interest in This Case,
                                                                         Because He Has Not Filed Any Proposition 65 Case Regarding Acrylamide
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24
                                                                         in Food, Nor Have Either of His Two Predecessor Attorneys General Filed
                                                     25                  Any Such Cases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

                                                     26   7.   THE STATE HAS INITIATED A RULEMAKING PROCEEDING TO ADOPT 27
                                                               CCR § 25607.2(b) WHICH WILL MOOT THIS CASE, THEREBY ELIMINATING
                                                     27        ANY CASE OR CONTROVERSY IF ONE EVER EXISTED. . . . . . . . . . . . . . . . . . . . 24

                                                     28   8.   CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
                                                                                                                                   i
                                                               INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                               IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 3 of 31
                                                                                                     F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com
                                                                                                      TABLE OF AUTHORITIES
                                                      2                                                                                                                                                                    PAGE
                                                      3                                                                      CASES
                                                      4   Atherton Mills v. Johnston
                                                                 259 U.S. 13, 15, 42 S.Ct. 422, 66 L.Ed. 814 (1922). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
                                                      5
                                                          Bartemeyer v. Iowa
                                                      6         18 Wall. 129, 134, 135, 21 L.Ed. 929 (1873) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
                                                      7   Center for Biological Diversity v. United States Forest Service
                                                                 925 F.3d 1041, 1047 (9th Cir. 2019) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7, 12, 16
                                                      8
                                                          CERT v. Starbucks, et al.
                                                      9         Los Angeles Sup. Ct. Case No. BC 435759 . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 9-11, 13
                                                     10   Chicago & G.T. Ry. Co. v. Wellman
                                                                143 U.S. 339, 345, 12 S.Ct. 400, 402, 36 L.Ed. 176 (1892). . . . . . . . . . . . . . . . . . . . . . . . 7
                                                     11
               555 east ocean boulevard, suite 800




                                                          Clark v. Coye
                 a professional law corporation
                  long beach, california 90802




                                                     12          60 F.3d 600, 603-04 (9th Cir. 1995) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
metzger law group




                                                     13   Cleveland v. Chamberlain
                                                                 66 U.S. 419, 17 L.Ed. 93 (1861) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
                                                     14
                                                          Colyer v. Smith
                                                     15          50 F. Supp. 2d at 969, 971 (C.D. Cal. 1999) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
                                                     16   Demos v. U.S. District Court
                                                                925 F.2d 1160, 1161 (9th Cir. 1991) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
                                                     17
                                                          Elk Grove Unified School Dist. v. Newdow
                                                     18          542 U.S. 1, 11–12 (2004) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 17, 23
                                                     19   Ex parte McCardle
                                                                 7 Wall. 506, 514, 19 L.Ed. 264 (1868) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
                                                     20
                                                     21   Flast v. Cohen
                                                                  392 U.S. 83, 95, 88 S.Ct. 1942, 1951, 20 L.Ed.2d 947 (1968). . . . . . . . . . . . . . . . . . . . . . 7
                                                     22   In re Bernard
                                                     23           31 F.3d 842, 847 (9th Cir. 1994) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
               occupational & environmental lung
               disease, cancer, and toxic injuries




                                                          In re Fry
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24
                                                                  2015 WL 572315 at 12 (USBC E.D. Cal. 2015). . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 17, 23
                                                     25
                                                          Kasza v. Browner
                                                     26          133 F.3d 1159, 1171 (9th Cir. 1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15

                                                     27   Katie A. ex. rel. Ludin v. Los Angeles Cty.
                                                                 481 F.3d 1150, 1155 (9th Cir. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
                                                     28
                                                                                                                                    ii
                                                                    INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                    IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 4 of 31
                                                                                                     F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com
                                                          Libertarian Party of Los Angeles County v. Bowen
                                                                 709 F.3d 867, 872 (9th Cir. 2013) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
                                                      2
                                                          Lopez v. Candaele
                                                      3          630 F.3d 775, 785 (9th Cir. 2010) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
                                                      4   Lord v. Veazie
                                                                 8 How. 251, 12 L.Ed. 1067 (1850) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
                                                      5
                                                          Mansfield, Coldwater and Lake Michigan Railway Company v. Swan
                                                      6          111 U.S. 379, 382, 4 S.Ct. 510, 511, 28 L.Ed. 462 (1884). . . . . . . . . . . . . . . . . . . . . . . . . 7
                                                      7   Muskrat v. United States
                                                                219 U.S. 346, 356-357, 31 S.Ct., 250, 253-254; 55 L.Ed. 246 (1911) . . . . . . . . . . . . . . 6, 7
                                                      8
                                                          Native Village of Nuiqsut v. Bureau of Land Mgmt
                                                      9          9 F.4th 1201,1208 (9th Cir. 2021). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
                                                     10   People v. Snyder’s of Hanover, Inc., et al.
                                                                 Alameda County Superior Court Case No. RG 09455286 . . . . . . . . . . . . . . . . . . . . . . . . 19
                                                     11
               555 east ocean boulevard, suite 800




                                                          Poe v. Ullman
                 a professional law corporation
                  long beach, california 90802




                                                     12          367 U.S. 497, 507 (1961) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20, 22
metzger law group




                                                     13   Raines v. Byrd
                                                                 521 U.S. 811, 818, 117 S.Ct. 2312, 138 L.Ed.2d 849 (1997). . . . . . . . . . . . . . . . . . . . . . . 6
                                                     14
                                                          San Diego County Gun Rights Committee v. Reno
                                                     15          98 F.3d 1121, 1128 (9th Cir. 1996) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
                                                     16   San Francisco County Democratic Central Committee v. Eu
                                                                 826 F.2d 814, 822 (9th Cir. 1987) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
                                                     17
                                                          San Luis & Delta-Mendota Water Authority v. Salazar
                                                     18          638 F.3d 1163, 1173 (9th Cir. 2011) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
                                                     19   Simonca v. Mukasey
                                                                No. CIV S-08-1453, 2008 WL 5113757, at *3 (E.D. Cal. Nov. 25, 2008). . . . . . . . . . . . 15
                                                     20
                                                     21   Spokeo, Inc. v. Robins
                                                                136 S. Ct. 1540, 1547, 194 L. Ed. 2d 635 (2016) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
                                                     22   Steel Co. v. Citizens for a Better Environment
                                                     23          523 U.S. 83, 102, 118 S. Ct. 1003, 1016, 140 L. Ed. 2d 210 (1998) . . . . . . . . . . . . . . . 6, 7
               occupational & environmental lung
               disease, cancer, and toxic injuries




                                                          Stoianoff v. State of Mont.
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24
                                                                 695 F.2d 1214, 1223 (9th Cir. 1983) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
                                                     25
                                                          Thomas v. Anchorage Equal Rights Commission
                                                     26         220 F.3d 1134 (9th Cir. 2000) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20, 21

                                                     27   Todd v. McElhany
                                                                 No. CIV S-11-2346, 2011 WL 5526464 at *2 (E.D. Cal. Nov. 14, 2011) . . . . . . . . . . . . 16
                                                     28
                                                                                                                                   iii
                                                                    INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                    IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 5 of 31
                                                                                                          F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com
                                                          U.S. National Bank of Oregon v. Independent Insurance Agents of America, Inc.
                                                                 508 U.S. 439, 446, 113 S.Ct. 2173, 124 L.Ed.2d 402 (1993). . . . . . . . . . . . . . . . . . . . . . . 7
                                                      2
                                                          United States v. Johnson
                                                      3          319 U.S. 302 (1943) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 7, 8, 12, 16
                                                      4
                                                                                                                             STATUTES
                                                      5
                                                          28 U.S.C. § 144. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                                                      6
                                                          28 U.S.C. § 1983. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5, 20
                                                      7
                                                          28 U.S.C. § 2201. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                                                      8
                                                          28 U.S.C. § 455. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                                                      9
                                                          Health & Safety Code § 25249.6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
                                                     10
                                                          Health & Safety Code § 25249.7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
                                                     11
               555 east ocean boulevard, suite 800




                                                          Health & Safety Code § 25249.7(e) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
                 a professional law corporation
                  long beach, california 90802




                                                     12
metzger law group




                                                          Health and Safety Code § 25249.6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
                                                     13
                                                     14                                                                 REGULATIONS
                                                     15   22 C.C.R. § 12501 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
                                                     16   22 C.C.R. § 12601 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
                                                     17   22 C.C.R. § 12705(e) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
                                                     18   22 C.C.R. § 12713 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8, 9, 11
                                                     19   27 C.C.R. § 25505 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
                                                     20   27 C.C.R. § 25607.2(b). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
                                                     21   27 C.C.R. § 25704 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4, 9, 11
                                                     22
                                                     23
               occupational & environmental lung
               disease, cancer, and toxic injuries




                                                                                                              OTHER AUTHORITIES
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24
                                                          U.S. Constitution, Article III. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1, 6, 7, 16, 18, 20, 25
                                                     25
                                                     26
                                                     27
                                                     28
                                                                                                                                         iv
                                                                     INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                     IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 6 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1                       MEMORANDUM OF POINTS AND AUTHORITIES
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2
                                                      3          1.      PRELIMINARY STATEMENT
                                                      4          The present case does not give rise to a case or controversy for two essential reasons.
                                                      5          First, in representing the Office of Environmental Health Hazard Assessment (OEHHA), in
                                                      6   its ongoing efforts to nullify Proposition 65 with respect to acrylamide in food, the interest of
                                                      7   Defendant, the California Attorney General, is aligned with the interest of Plaintiff, California
                                                      8   Chamber of Commerce (CalChamber), which seeks to invalidate Proposition 65 with respect to
                                                      9   acrylamide in food. The instant action therefore does not present an “honest and actual antagonistic
                                                     10   assertion of rights,” as is required to satisfy the case or controversy requirement of Article III,
                                                     11   Section 2 of the U.S. Constitution. See United States v. Johnson 319 U.S. 302 (1943).
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12          Second, neither the Plaintiff nor the Defendant in this case are the Real Parties in Interest.
metzger law group




                                                     13   In this case CalChamber does not assert any organizational injury to itself, acknowledges that it has
                                                     14   not suffered any harm, and merely sues in a representational capacity on behalf of some its members
                                                     15   whom it claims have suffered harm. While CalChamber complains that hundreds of Proposition 65
                                                     16   cases regarding acrylamide in food have been filed against its members, it alleges that those cases
                                                     17   have been filed by private enforcers whom CalChamber has not sued in this case. Notably, none of
                                                     18   the many Proposition 65 cases that have been filed against CalChamber members during the past
                                                     19   thirteen years have been filed by the Attorney General. Although CalChamber and its counsel know
                                                     20   the identities of the small number of private enforcers that have sued CalChamber members,
                                                     21   CalChamber intentionally did not sue them as defendants in this case, in order to gin up a friendly
                                                     22   suit with the Attorney General who does not represent the interests of the private enforcers. Worse
                                                     23   yet, both CalChamber and the Attorney General vigorously and successfully opposed intervention
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   by those private enforcers who sought to intervene upon being preliminarily enjoined from filing

                                                     25   Proposition 65 cases regarding acrylamide in food by Judge Mueller. Thus, neither CalChamber nor

                                                     26   the Attorney General are real parties in interest, such that the purported dispute between them does

                                                     27   not give rise to a case or controversy between real parties in interest. See In re Fry, 2015 WL 572315

                                                     28   at 12 (USBC E.D. Cal. 2015); Elk Grove Unified School Dist. v. Newdow, 542 U.S. 1, 11–12 (2004).
                                                                                                         1
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 7 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1           2.      SUMMARY OF FACTS
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2           Although this action was filed two years ago, this matter has recently been assigned to a new
                                                      3   judge, so CERT provides the following background information regarding the case.
                                                      4                   A.      Proposition 65
                                                      5           The Safe Drinking Water and Toxic Enforcement Act of 1986 (now commonly known as
                                                      6   “Proposition 65") was adopted by initiative, and requires that warnings be given before exposing
                                                      7   individuals to chemicals known to cause cancer. Health and Safety Code § 25249.6 provides: “No
                                                      8   person in the course of doing business shall knowingly and intentionally expose any individual to
                                                      9   a chemical known to the state to cause cancer or reproductive toxicity without first giving clear and
                                                     10   reasonable warning to such individual, except as provided in Section 25249.10.” The State maintains
                                                     11   a list of chemicals that are known to the State of California to cause cancer and/or reproductive harm,
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   and over 900 chemicals appear on the list. Acrylamide is a potent carcinogen and neurotoxin that
metzger law group




                                                     13   has been on the list since 1990. Therefore, any business that exposes Californians to acrylamide in
                                                     14   excess of the No Significant Risk Level for acrylamide is subject to liability for injunctive relief and
                                                     15   civil penalties. A Proposition 65 lawsuit may be filed by the Attorney General or private citizens.
                                                     16   However, the Attorney General has not filed a Proposition 65 case since 2009, as discussed below.
                                                     17   OEHHA is the state agency tasked with adopting regulations under Proposition 65, and adding new
                                                     18   toxins to the list as scientific developments dictate.
                                                     19                   B.    Intervenor-Defendant, Council for Education and Research on Toxics
                                                     20           The Council for Education and Research on Toxics (CERT) is a public benefit organization
                                                     21   whose primary charitable purposes are education and research regarding toxic substances. Founded
                                                     22   by two University of California professors in 2001, CERT is a unique non-governmental
                                                     23   organization: its officers and directors serve without compensation and, maintaining a low overhead,
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   virtually every dollar that CERT receives by way of contributions, successful Proposition 65

                                                     25   litigation, and cy pres awards, is disbursed in the form of research and education grants, mostly to

                                                     26   research scientists and students within the University of California system. In furtherance of its

                                                     27   educational activities, CERT has filed amicus curiae briefs in California appellate courts, the

                                                     28   California Supreme Court, federal appellate courts, and the United States Supreme Court.
                                                                                                         2
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 8 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1          In 2002 Swedish researchers discovered that acrylamide is present at high levels in many
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   cooked foods, prompting the European Food Safety Authority (EFSA) to declare acrylamide in food
                                                      3   a “major public health concern.” Since approximately 40% of Americans develop cancer and
                                                      4   scientists attribute a like percentage of human cancers to carcinogens in the human diet, CERT
                                                      5   decided to devote its efforts and resources to remedying the major public health problem of
                                                      6   acrylamide in the human diet. Thus, in late 2002 CERT filed the first cases to enforce Proposition
                                                      7   65 regarding acrylamide in french fries and potato chips. Those cases were both successful and
                                                      8   resulted in the entry of consent judgments in Los Angeles Superior Court, conferring substantial
                                                      9   benefits to California consumers.
                                                     10          In March 2005, OEHHA published a report: “Characterization of Acrylamide Intake from
                                                     11   Certain Foods,” available at https://oehha.ca.gov/media/downloads/ crnr/acrylamideintakereport.pdf.
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   This report determined that all coffee drinkers have a significantly increased risk of cancer from
metzger law group




                                                     13   acrylamide in coffee, i.e., the No Significant Risk Level (NSRL) for exposure to acrylamide from
                                                     14   consumption of coffee was exceeded not only for heavy coffee drinkers, but also for average and
                                                     15   even light consumers. Nevertheless, the coffee industry failed to provide legally required cancer
                                                     16   warnings. CERT determined it would be necessary to sue the coffee industry to force it to comply
                                                     17   with Proposition 65 to protect the health of California coffee consumers (about 2/3 the population).
                                                     18                  C.    The Coffee Litigation
                                                     19          In 2010 CERT initiated litigation against the coffee industry regarding acrylamide in coffee
                                                     20   (CERT v. Starbucks, et al., Los Angeles Sup. Ct. Case No. BC 435759), with the goal of persuading
                                                     21   coffee roasters to reduce acrylamide levels in coffee – the largest source of acrylamide in the adult
                                                     22   diet. The litigation involves two consolidated cases against about 85 coffee roasters and retailers,
                                                     23   most of which are members of the National Coffee Association, the California Grocers Association,
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   and the California Chamber of Commerce. CERT gave notice of the litigation to the Attorney

                                                     25   General as required by Health & Safety Code § 25249.7(e). However, the Attorney General declined

                                                     26   to participate in the litigation, leaving CERT to prosecute the case on its own as a private enforcer.

                                                     27          The consolidated cases were assigned to the Honorable Elihu M. Berle in the Complex

                                                     28   Litigation Department of the Los Angeles Superior Court. In the Fall of 2014, Judge Berle tried the
                                                                                                         3
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                      Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 9 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   Defendants’ No Significant Risk Level and constitutional defenses (Federal Preemption defense and
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   First Amendment defense) and, on September 9, 2015, issued his Phase 1 Statement of Decision,
                                                      3   adjudging these defenses, including Defendants’ First Amendment Defense, in favor of CERT and
                                                      4   against all the Defendants. (Metzger Decl. Exhibit “A;” 15:18 – 16:28)
                                                      5           In the Spring of 2016 CERT filed motions for summary adjudication of its prima facie case,
                                                      6   based upon a set of facts to which all defendants had stipulated. Among other things, Defendants
                                                      7   stipulated that they had exposed Californians to acrylamide without providing any health warnings.
                                                      8   (Metzger Decl. Ex. “B”) Judge Berle granted CERT’s motions against all Defendants, thus
                                                      9   establishing CERT’s prima facie case. (Metzger Decl. ¶¶ 12-13)
                                                     10           In the Fall of 2017 Judge Berle tried Defendants’ last affirmative defense, their “Alternative
                                                     11   Risk Level” defense and, on May 9, 2018, issued a Phase 2 Statement of Decision, adjudging
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   Defendants’ last affirmative defense in favor of CERT and against all Defendants.
metzger law group




                                                     13           In June 2018, OEHHA proposed a regulation that would nullify Judge Berle’s decision. The
                                                     14   new regulation, 27 CCR § 25704, purports to declare that carcinogens in coffee do not present a
                                                     15   significant risk of cancer - disregarding the agency’s own findings in its 2005 report. The regulation
                                                     16   was adopted in June, 2019, and in January, 2020, Defendants filed a motion for summary judgment
                                                     17   based on their new affirmative defense, which the court granted. That decision is now on appeal.
                                                     18                   D.   This Litigation
                                                     19           CalChamber filed this case on October 7, 2019, seeking declaratory and injunctive relief that
                                                     20   would enjoin all enforcement regarding acrylamide in food. CalChamber asserted a single cause of
                                                     21   action for violation of the free speech rights of CalChamber and its members, alleging that
                                                     22   acrylamide is not carcinogenic, and that the Proposition 65 warning requirement thus constitutes
                                                     23   false compelled speech. CalChamber’s complaint named the Attorney General as the only
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   defendant, but sought injunctive relief against “all those in privity with and/or acting in concert with

                                                     25   those entities or individuals (including private enforcers of Proposition 65 under Health & Safety

                                                     26   Code § 25249.7(d)).” [ECF 1; Prayer ¶1].

                                                     27           As the primary private enforcer of Proposition 65 with respect to acrylamide in food, CERT

                                                     28   promptly sought to intervene, to protect its rights to free speech and to petition the government for
                                                                                                             4
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 10 of 31
                                                                                           F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   redress of grievances under the First Amendment. Pursuant to stipulation, the district court granted
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   CERT’s motion to intervene on November 15, 2019.
                                                      3          On October 16, 2019 CERT filed a Motion to Dismiss asserting (1) the Anti-Injunction Act,
                                                      4   (2) the Rooker-Feldman doctrine, (3) Younger abstention, (4) Colorado River abstention, Pullman
                                                      5   abstention, Burford abstention, and the federal common law of comity. On March 3, 2020, the
                                                      6   district court granted CERT’s motion to dismiss based on the Anti-Injunction Act, without
                                                      7   addressing the abstention grounds asserted by CERT. [ECF 56].
                                                      8          On March 16, 2020, CalChamber filed a First Amended Complaint that asserted claims for
                                                      9   violation of the First Amendment under 28 U.S.C. § 2201 and 28 U.S.C. § 1983. [ECF 57].
                                                     10   Although CERT was then a party to the case, the amended complaint identified only Attorney
                                                     11   General Becerra as a defendant and made no allegations regarding CERT.
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12          On October 30, 2020, CalChamber filed a motion for a preliminary injunction [ECF 95], and
metzger law group




                                                     13   the motion was heard on December 11, 2020. On March 30, 2021, the court granted Cal Chamber’s
                                                     14   motion for a preliminary injunction. [ECF 114]. The injunction barred the Attorney General, as well
                                                     15   as all private enforcers, from filing Proposition 65 cases regarding acrylamide. CERT promptly
                                                     16   appealed that ruling to the Ninth Circuit on April 21, 2021 [ECF 119]. However, the Attorney
                                                     17   General elected not to appeal the order granting the preliminary injunction. (Metzger Dec. ¶19)
                                                     18          After the District Court denied CERT’s ex parte application to stay the preliminary injunction
                                                     19   pending appeal [ECF118], CERT filed an emergency motion to stay the preliminary injunction in
                                                     20   the Ninth Circuit. On May 27, 2021, the Ninth Circuit granted CERT’s motion, finding that CERT
                                                     21   had shown that it is likely to prevail on appeal. [9th Cir. No. 21-15745, ID: 12127496, DktEntry: 16,
                                                     22   Metzger Decl. Ex. “C”]. The appeal has been fully briefed, and is awaiting assignment to the oral
                                                     23   argument calendar for January, February or March of 2022.
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24          On August 1, 2021, counsel for CERT first became aware of information giving rise to a

                                                     25   motion to disqualify Judge Mueller from hearing this case, on the basis of unwaivable financial

                                                     26   conflicts of interest. Once aware of that information, CERT’s counsel had an ethical duty to file a

                                                     27   motion to disqualify Judge Mueller pursuant to 28 U.S.C. §§ 144 and 455. See In re Bernard, 31

                                                     28   F.3d 842, 847 (9th Cir. 1994) (“Counsel for a party who believes a judge's impartiality is reasonably
                                                                                                           5
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 11 of 31
                                                                                           F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   subject to question has not only a professional duty to his client to raise the matter, but an
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   independent responsibility as an officer of the court.”). CERT filed its motion on August 16, 2021.
                                                      3   [ECF No. 152]
                                                      4          On September 24, 2021, Judge Muller issued an Order recusing herself from this case. [ECF
                                                      5   No. 174] The case was subsequently reassigned to Judge Mendez, who recused himself on
                                                      6   September 28. [ECF No. 176] The case was next reassigned to Judge England, who recused himself
                                                      7   and reassigned the case to Judge Shubb on September 29. [ECF No. 177] On October 1, 2021, Judge
                                                      8   Shubb recused himself [ECF No. 179], so this case is now before Judge Drozd.
                                                      9
                                                     10          3.       ABSENT A CASE OR CONTROVERSY WITHIN ARTICLE III OF THE U.S.
                                                     11                   CONSTITUTION, THIS COURT LACKS JURISDICTION TO ADJUDICATE
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12                   THIS CASE AND MUST DISMISS THIS CASE
metzger law group




                                                     13          “Article III, § 2, of the Constitution extends the ‘judicial Power’ of the United States only
                                                     14   to ‘Cases’ and ‘Controversies.’” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 102,
                                                     15   118 S. Ct. 1003, 1016, 140 L. Ed. 2d 210 (1998), citing Muskrat v. United States, 219 U.S. 346, 356-
                                                     16   357, 31 S.Ct., 250, 253-254; 55 L.Ed. 246 (1911).
                                                     17          “‘No principle is more fundamental to the judiciary's proper role in our system of government
                                                     18   than the constitutional limitation of federal-court jurisdiction to actual cases or controversies.’”
                                                     19   Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547, 194 L. Ed. 2d 635 (2016), quoting Raines v. Byrd, 521
                                                     20   U.S. 811, 818, 117 S.Ct. 2312, 138 L.Ed.2d 849 (1997).
                                                     21          “Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction is power to
                                                     22   declare the law, and when it ceases to exist, the only function remaining to the court is that of
                                                     23   announcing the fact and dismissing the cause.” Steel Co. v. Citizens for a Better Environment, 523
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   U.S. 83, 94, 118 S. Ct. 1003, 1012, 140 L. Ed. 2d 210 (1998), quoting Ex parte McCardle, 7 Wall.

                                                     25   506, 514, 19 L.Ed. 264 (1868).

                                                     26          “The requirement that jurisdiction be established as a threshold matter ‘spring[s] from the

                                                     27   nature and limits of the judicial power of the United States’ and is ‘inflexible and without

                                                     28   exception.’” Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94–95, 118 S. Ct. 1003,
                                                                                                            6
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 12 of 31
                                                                                             F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   1012, 140 L. Ed. 2d 210 (1998), quoting Mansfield, Coldwater and Lake Michigan Railway
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   Company v. Swan, 111 U.S. 379, 382, 4 S.Ct. 510, 511, 28 L.Ed. 462 (1884).
                                                      3           The threshold requirement of a case or controversy applies even in cases where a plaintiff
                                                      4   asserts a claim that is clearly within the court’s subject matter jurisdiction. “For a court to pronounce
                                                      5   upon the meaning or the constitutionality of a state or federal law when it has no jurisdiction to do
                                                      6   so is, by very definition, for a court to act ultra vires.” Steel Co. v. Citizens for a Better Environment,
                                                      7   523 U.S. 83, 101–02, 118 S. Ct. 1003, 1016, 140 L. Ed. 2d 210 (1998).
                                                      8           Thus, absent a case and controversy, this Court must dismiss this case.
                                                      9
                                                     10           4.      THERE MUST BE AN “HONEST AND ACTUAL ANTAGONISTIC
                                                     11                   ASSERTION OF RIGHTS” BY THE PLAINTIFF AND THE DEFENDANT
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12                   FOR THERE TO BE AN ARTICLE III CASE AND CONTROVERSY
metzger law group




                                                     13           In every case, especially a case that seeks to invalidate as unconstitutional a duly adopted
                                                     14   state public health law, there must be an “honest and actual antagonistic assertion of rights” to be
                                                     15   adjudicated. U.S. v. Johnson, 319 U.S. 302, 305, 63 S. Ct. 1075, 1076–77, 87 L. Ed. 1413 (1943);
                                                     16   accord, Center for Biological Diversity v. United States Forest Service, 925 F.3d 1041, 1047 (9th Cir.
                                                     17   2019) [“First, the case must present “an honest and actual antagonistic assertion of rights by one
                                                     18   [party] against another.”], citing U.S. National Bank of Oregon v. Independent Insurance Agents of
                                                     19   America, Inc., 508 U.S. 439, 446, 113 S.Ct. 2173, 124 L.Ed.2d 402 (1993); quoting Muskrat v.
                                                     20   United States, 219 U.S. 346, 359, 31 S.Ct. 250, 55 L.Ed. 246 (1911)); see also Flast v. Cohen, 392
                                                     21   U.S. 83, 95, 88 S.Ct. 1942, 1951, 20 L.Ed.2d 947 (1968).
                                                     22           An “honest and actual antagonistic assertion of rights” is “a safeguard essential to the
                                                     23   integrity of the judicial process, and one which [the Supreme Court] ha[s] held to be indispensable
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   to adjudication of constitutional questions.” U.S. v. Johnson, 319 U.S. 302, 305, 63 S. Ct. 1075,

                                                     25   1076–77, 87 L. Ed. 1413 (1943), citing Chicago & G.T. Ry. Co. v. Wellman, 143 U.S. 339, 345, 12

                                                     26   S.Ct. 400, 402, 36 L.Ed. 176 (1892). See also Lord v. Veazie, 8 How. 251, 12 L.Ed. 1067 (1850);

                                                     27   Cleveland v. Chamberlain, 66 U.S. 419, 17 L.Ed. 93 (1861); Bartemeyer v. Iowa, 18 Wall. 129, 134,

                                                     28   135, 21 L.Ed. 929 (1873); Atherton Mills v. Johnston, 259 U.S. 13, 15, 42 S.Ct. 422, 66 L.Ed. 814
                                                                                                          7
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 13 of 31
                                                                                               F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   (1922).
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2             “Whenever in the course of litigation such a defect in the proceedings is brought to the court's
                                                      3   attention, it may set aside any adjudication thus procured and dismiss the cause without entering
                                                      4   judgment on the merits. United States v. Johnson, 319 U.S. 302, 305, 63 S. Ct. 1075, 1076–77, 87
                                                      5   L. Ed. 1413 (1943).
                                                      6             Indeed, “[it] is the court's duty to do so where, as here, the public interest has been placed at
                                                      7   hazard by the amenities of parties to a suit conducted under the domination of only one of them.”
                                                      8   United States v. Johnson, 319 U.S. 302, 305, 63 S. Ct. 1075, 1076–77, 87 L. Ed. 1413 (1943).
                                                      9
                                                     10             5.      THE INTERESTS OF CAL CHAMBER AND THE CALIFORNIA
                                                     11                     ATTORNEY GENERAL ARE ALIGNED, RATHER THAN ADVERSE
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12             While it would appear from the face of the pleadings that the interests of CalChamber and
metzger law group




                                                     13   the Attorney General are antagonistic, the facts show that their interests are actually aligned, because
                                                     14   both CalChamber and the Attorney General have long sought to undermine Proposition 65 with
                                                     15   respect to acrylamide in food. Indeed, in its representation of the Office of Environmental Health
                                                     16   Hazard Assessment and its predecessor, the Health and Welfare Agency, the California Attorney
                                                     17   General has vigorously litigated against the enforcement of Proposition 65 with respect to
                                                     18   acrylamide in food. Throughout the many years that the Attorney General has litigated against
                                                     19   enforcement of Proposition 65 with respect to acrylamide in food, he has done so in derogation of
                                                     20   his primary duty to enforce and defend California laws against all legal challenges. Indeed, many
                                                     21   actions undertaken by the California Attorney General since the inception of this case support the
                                                     22   conclusion that the Attorney General would be happy to rid itself of acrylamide in food, which
                                                     23   presents political issues that the Attorney General and his boss, the Governor, would like to avoid.
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24                     A.      For the Past 35 Years the Attorney General Has Represented OEHHA

                                                     25                             and Its Predecessor Agency in their Efforts to Nullify Proposition 65

                                                     26                             Enforcement with Respect to Acrylamide in Food

                                                     27             Upon the adoption of Proposition 65 in 1986, the California Health & Welfare Agency

                                                     28   adopted 22 C.C.R. § 12713 purporting to exempt exposure to carcinogens in food from Proposition
                                                                                                        8
                                                                    INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                    IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 14 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   65 where foods complied with federal or state standards. Public health and labor organizations filed
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   suit to declare that regulation invalid as contrary to Proposition 65 and to enjoin its application.
                                                      3   (Metzger Decl. ¶ 27) Rather than defending Proposition 65 from being undermined by the agency,
                                                      4   the Attorney General defended the regulation although it was invalid as facially contrary to Proposi-
                                                      5   tion 65. (Brust Decl. Ex. “A”) Judge Robie of the Sacramento Superior Court (now Justice Robie
                                                      6   of the Third Appellate District) held Section 12713 invalid and unenforceable (Metzger Decl. Ex.
                                                      7   “F”) and the agency settled the case, agreeing to repeal Section 12713. (Metzger Decl. Ex. “G”)
                                                      8          In 1989, the Health & Welfare Agency adopted 22 C.C.R. §12501 exempting carcinogens
                                                      9   in food that are “naturally occurring.” (Metzger Decl. ¶ 29) Although Proposition 65 did not
                                                     10   distinguish between naturally occurring carcinogens and synthetic carcinogens, the Attorney General
                                                     11   defended the regulation which undermined Proposition 65, rather than defending Proposition 65.
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12          In 2005 - a few years after acrylamide was discovered in food, OEHHA proposed 3
metzger law group




                                                     13   regulations to exempt acrylamide in foods: (1) exempting exposures to chemicals that form in a food
                                                     14   solely as a result of naturally occurring constituents in the food being cooked or heat processed [an
                                                     15   unnumbered regulation]; (2) adopting an Alternative Significant Risk Level for acrylamide in breads
                                                     16   and cereals, which would have allowed exposures to acrylamide at 10 times the level deemed to
                                                     17   present a significant risk of cancer [proposed 22 C.C.R. § 12705(e)]; and (3) amending 22 C.C.R.
                                                     18   § 12601 to increase the No Significant Risk Level for acrylamide by developing a “safe harbor”
                                                     19   warning for acrylamide in foods greater than 0.2 ug/day and eliminate the requirement that a cancer
                                                     20   warning be placed on package labels for each individual product. (Metzger Declaration Exhibit “H”)
                                                     21   The Attorney General provided service to OEHHA in support of these regulations that sought to
                                                     22   undermine Proposition 65, which were not adopted at the time.
                                                     23          In 2019 OEHHA adopted 27 C.C.R. § 25704, exempting exposure to carcinogens (i.e.
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   acrylamide) formed in coffee during the roasting and brewing process. The Attorney General

                                                     25   defended OEHHA’s regulation which was adopted pursuant to a directive of then-Governor Brown,

                                                     26   thereby undermining Proposition 65 with respect to the greatest source of acrylamide in the adult diet

                                                     27   and nullifying the result favorable to consumers that CERT had obtained after 8 years of litigating

                                                     28   the CERT v Starbucks case. (Metzger Decl. ¶ 31)                              In subsequent proceedings in the CERT v.
                                                                                                      9
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 15 of 31
                                                                                              F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   Starbucks case, the Attorney General sided with the defendants in that case who sought to undermine
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   Proposition 65 with respect to acrylamide in food, rather than defending Proposition 65 against the
                                                      3   regulation which sought to nullify Proposition 65 with respect to acrylamide in coffee. (Id.)
                                                      4          In 2020 OEHHA proposed adopting 27 C.C.R. § 25505, exempting exposures to carcinogens
                                                      5   created by cooking, declaring such are not exposures at all! (Metzger Declaration ¶ 32) Upon
                                                      6   adoption, CERT will be suing OEHHA to invalidate this regulation that contravenes Proposition 65,
                                                      7   and the Attorney General will defend the regulation rather than Proposition 65.
                                                      8                  B.      The Governor of the State of California Has Long Been Hostile to the
                                                      9                          Application of Proposition 65 to Acrylamide in Food
                                                     10          In 2013, the Governor supported Assembly Bill 227 which weakened Proposition 65 by
                                                     11   adding subdivision (k) to Health and Safety Code § 25249.7, which exempted exposures to heat-
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   formed carcinogens in ready-to-drink coffee sold for immediate consumption. (Metzger Decl. ¶ 34)
metzger law group




                                                     13          In early 2018, even before Judge Berle issued his Phase 2 Statement of Decision in favor of
                                                     14   CERT, Cabinet-level officials in the Governor’s Office engaged in communications with Cabinet-
                                                     15   level and other high-level officials in Cal-EPA, OEHHA, and the Attorney General’s office about
                                                     16   the case. (Metzger Declaration Exhibit “I”).
                                                     17          In 2018, after CERT won the Phase 2 trial, Cabinet-level officials in the Governor’s Office
                                                     18   directed the Secretary of CalEPA and the Director of OEHHA to take action to nullify the result of
                                                     19   the trial of the CERT v. Starbucks case. CalEPA Secretary Matthew Rodriquez organized a meeting
                                                     20   in the conference room of the Governor’s office on June 5, 2018 for a “briefing on coffee.” (Metzger
                                                     21   Decl. Exhibit “J”) The meeting was attended not only by Secretary Rodriquez, but also by but also
                                                     22   by the Governor’s Deputy Cabinet Secretary, Saul Gomez, along with OEHHA director Lauren Zeiss
                                                     23   and other high-ranking officials.
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24          A week later, on June 11, 2018, a “discussion regarding coffee” took place in the office of

                                                     25   OEHHA Director Lauren Zeise with other officials from OEHHA and CalEPA. (Metzger Decl. Ex.

                                                     26   “K”) The same day, June 11, 2018, there was a second meeting regarding coffee, this time taking

                                                     27   place in the office of CalEPA Secretary Matthew Rodriquez, and Secretary Rodriquez, Ms. Zeiss,

                                                     28   OEHHA Chief Deputy Director Allan Hirsch, OEHHA Chief Counsel Carol Monahan-Cummings,
                                                                                                     10
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 16 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   OEHHA Chief of Reproductive & Cancer Hazard Assessment Martha Sandy, and Julie Henderson,
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   CalEPA’s Deputy Secretary for Health & Public Policy. (Metzger Decl. Ex. “L”) Four days later, on
                                                      3   June 15, 2018, OEHHA proposed and later adopted 27 C.C.R. § 25704, which altogether exempted
                                                      4   exposure to carcinogens formed in coffee during the roasting and brewing process.
                                                      5          The Governor is the head of the executive branch of the California government.                                                                          The
                                                      6   Attorney General is the highest ranking official of the Department of Justice, which is within the
                                                      7   executive branch of the California government. The Attorney General is also one of the few
                                                      8   executive officials in the executive branch of the California government. The Attorney General
                                                      9   serves at the pleasure of the Governor, is subordinate to the Governor in the executive branch
                                                     10   hierarchy, reports directly to the Governor, and executes the Governor’s commands and directives.
                                                     11          The Attorney General was instrumental in executing the Governor’s directive to undermine
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   the result of the CERT v. Starbucks trial, drafting 27 C.C.R. § 25704, shepherding the regulation
metzger law group




                                                     13   through the administrative process, and coordinating action of CalEPA and OEHHA to adopt that
                                                     14   regulation, all under the guise of the attorney-client privilege. (Metzger Decl. ¶¶ 37, 43) Since the
                                                     15   Governor directed the Attorney General to undermine Proposition 65 with respect to acrylamide in
                                                     16   food and the Attorney General did so, the Attorney General has an irreconcilable conflict of interest
                                                     17   in defending Proposition 65 with respect to acrylamide in food.
                                                     18          Among the Attorney General’s duties are his duty to defend regulatory actions of state
                                                     19   agencies. Ever since 22 C.C.R. § 12713 was adopted shortly after Proposition 65 went into effect,
                                                     20   the Attorney General has defended OEHHA’s attempts to undermine Proposition 65 with respect to
                                                     21   food and most specifically with respect to acrylamide in food. In recent years, the Attorney General
                                                     22   has also done the Governor’s bidding to undermine Proposition 65 regarding acrylamide in food.
                                                     23          The Attorney General has always defended OEHHA’s regulatory actions that are contrary
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   to Proposition 65 and has executed the Governor’s directives to undermine Proposition 65 with

                                                     25   respect to acrylamide in food, rather than fulfilling his primary duty to defend Proposition 65.

                                                     26          Accordingly, the interests of CalChamber and the Attorney General align: they have both

                                                     27   sought to exempt acrylamide in food from Proposition 65 for many years and they both seek that

                                                     28   result in this case. CalChamber seeks that result overtly, while the Attorney General seeks that result
                                                                                                            11
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 17 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   covertly while purporting to defend Proposition 65 against CalChamber’s claim.
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2          Since the interests and goals of the only named plaintiff and the only named defendant in this
                                                      3   case align, the present case does not present “an honest and actual antagonistic assertion of rights
                                                      4   by one [party] against another.” Center for Biological Diversity v. United States Forest Service, 925
                                                      5   F.3d 1041, 1047 (9th Cir. 2019); U.S. v. Johnson, supra, 319 U.S. at 305.
                                                      6                  C.      The Attorney General’s Conduct of This Litigation Demonstrates That
                                                      7                          The Attorney General Is Serving The Desires of The Governor and
                                                      8                          OEHHA To Undermine Proposition 65 With Respect To Acrylamide In
                                                      9                          Food Rather Than Defending Proposition 65, As Is His Primary Duty
                                                     10          The complaint in his case was filed October 7, 2019. Although the complaint sought an
                                                     11   injunction enjoining enforcement of all Proposition 65 litigation regarding acrylamide in all food and
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   beverage products, the initial response of the Attorney General to the case was most disconcerting.
metzger law group




                                                     13   A mere three days after the case was filed – before any responsive pleadings or motions to dismiss
                                                     14   were filed – the Attorney General stipulated to a hearing of CalChamber’s motion for preliminary
                                                     15   injunction on December 20, 2019, with the opposition thereto being due on November 18, 2019 -
                                                     16   less than five weeks after the case was filed. (Metzger Decl. ¶ 49)
                                                     17          CERT’s counsel was able to conceive of only two reasons for such action by the Attorney
                                                     18   General: (1) gross incompetence and dereliction of the Attorney General’s duty to defend Proposition
                                                     19   65, or (2) collusion with CalChamber to avoid the politically unsavory issue of acrylamide in food.
                                                     20          The Attorney General staffed this case with low-level deputies attorney general in the
                                                     21   Proposition 65 unit, Harrison Pollak, John Everett, and Joshua Purtle, none of whom has any federal
                                                     22   litigation experience and none of whom has ever tried a case, let alone a case involving complex
                                                     23   scientific issues, or any case in federal court under the Daubert standard. (Metzger Decl. ¶ 50).1
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   Although this case involves complex issues regarding the First Amendment, the Anti-Injunction Act,

                                                     25   the All Writs Act, federal abstention doctrines, and federal civil procedure, the Attorney General did

                                                     26   not staff this case with any attorneys having either experience or expertise in these areas.

                                                     27
                                                     28          1
                                                                     All three of these attorneys have recently departed from the Attorney General’s office.
                                                                                                           12
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 18 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1          CERT’s counsel, who has been designated one of the “Top 100 Attorneys in California” by
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   the Los Angeles Daily Journal primarily due to his successful litigation regarding acrylamide in food,
                                                      3   recognized the inadequacy of the Attorney General’s defense team and brought such to the attention
                                                      4   of the Attorney General, requesting that he put together a team of attorneys experienced in the First
                                                      5   Amendment, abstention doctrines, and federal civil procedure, with an experienced litigator who had
                                                      6   actually tried cases in federal court. (Metzger Decl. Ex. “M”) Apparently due to lack of a genuine
                                                      7   desire to vigorously defend this case, the Attorney General refused to do so. (Metzger Decl. ¶¶53-55)
                                                      8          CERT’s counsel also recommended that a team of scientists with expertise in relevant
                                                      9   disciplines be assembled, as CERT’s counsel did for the Phase 1 trial in the CERT v. Starbucks case.
                                                     10   Even though CERT’s counsel prevailed on the false compelled speech issue at trial of the CERT v.
                                                     11   Starbucks case, the Attorney General refused to assemble such a team of experts for this case. (Id.)
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12          The Attorney General responded to CERT’s recommendation, indicating that a team of
metzger law group




                                                     13   experts was not necessary for pretrial proceedings, including opposing CalChamber’s motion for
                                                     14   preliminary injunction, and indicating that a team of experts could be assembled for the trial if the
                                                     15   case were not won before trial on summary judgment – even though no basis for obtaining summary
                                                     16   judgment in this case has ever been proffered by the Attorney General to CERT’s counsel. (Id.)
                                                     17          The Attorney General opposed the preliminary injunction motion with a declaration of just
                                                     18   one expert [ECF 47-1] who correctly opined that dietary epidemiology studies are unreliable to
                                                     19   determine human carcinogenicity of acrylamide, but contradicted herself by saying the same studies
                                                     20   were somehow reliable to conclude that acrylamide does not cause human cancer in coffee drinkers.
                                                     21   Thus, the Attorney General sought to split the baby rather than defend Proposition 65. Judge Mueller
                                                     22   court recognized that inconsistency and used it as a basis for issuing the preliminary injunction.
                                                     23          Although the Attorney General is the chief law enforcement officer of the State of California
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   whose primary duty is to enforce and defend California laws against all legal challenges, the

                                                     25   Attorney General refused to appeal the preliminary injunction even though the injunction prevented

                                                     26   the Attorney General from discharging his primary duty to enforce California law.

                                                     27          When CERT determined that it would appeal the preliminary injunction and would seek a

                                                     28   stay of the preliminary injunction pending appeal, the Attorney General took no position whether the
                                                                                                           13
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 19 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   injunction should be stayed, even though the Court had enjoined the Attorney General from
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   discharging his primary duty of enforcing Proposition 65 with respect to acrylamide in food.
                                                      3   (Metzger Decl. ¶ 57) On multiple occasions the Attorney General has also opposed intervention by
                                                      4   other private enforcers who, upon being enjoined by the court’s order, sought to intervene to defend
                                                      5   and enforce Proposition 65 with respect to acrylamide in food, even though the Attorney General
                                                      6   does not represent their interests. [ECF Nos. 130, 140, 145]
                                                      7          Most recently, the Attorney General submitted position statements to the Court regarding
                                                      8   management of this case which demonstrate an utter failure to properly defend this case. In the Joint
                                                      9   Status report filed on July 14, 2021, [ECF 144] the Attorney General represented to the Court that
                                                     10   “[t]he Attorney General believes that no further discovery will be necessary,” even though no
                                                     11   discovery had taken place in this case, and all parties had been foreclosed from initiating any
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   discovery pursuant to the court’s order at the outset of this case staying all discovery. In the same
metzger law group




                                                     13   Joint Status report, the Attorney General also “propose[d] that the parties waive the exchange of
                                                     14   initial disclosures,” although no disclosures had been made by any party and no party had produced
                                                     15   any documents or identified fact witnesses that support its claims or defenses in this case. CERT
                                                     16   considers these positions of the Attorney General demonstrate either a lack of interest and motivation
                                                     17   to seriously defend this case or collusion with CalChamber to have the Court invalidate Proposition
                                                     18   65 with respect to acrylamide in food, so the Attorney General need not have to deal with the
                                                     19   difficult and politically sensitive issues which have so troubled his boss, the Governor of California.
                                                     20          Worse yet, in the same Joint Status Report the Attorney General informed the Court that he
                                                     21   “has not yet decided whether he believes depositions of experts will be necessary, or whether he will
                                                     22   be disclosing any additional expert witnesses beyond the expert whose declaration was attached to
                                                     23   the opposition to CalChamber’s motion for preliminary injunction.” That the Attorney General even
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   questions the need to depose experts in this case evinces at best a lackadaisical defense of this case

                                                     25   and, at worst, collusion with CalChamber to rid himself of pesky litigation regarding acrylamide in

                                                     26   food. That the Attorney General would even consider relying on the single expert witness who

                                                     27   already contradicted herself regarding the reliability of acrylamide in food epidemiology studies and

                                                     28   whose opinion Judge Mueller found inadequate to deter issuance a preliminary injunction enjoining
                                                                                                       14
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 20 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   enforcement of Proposition 65 with respect to acrylamide in food, also demonstrates a lack of will
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   to designate expert witnesses necessary to defend this case, most likely because the Attorney General
                                                      3   secretly hopes that Cal Chamber will win this case unopposed.
                                                      4                   D.      The Attorney General’s Representation of the Interests of OEHHA and
                                                      5                           the Governor in Undermining Proposition 65 With Respect to
                                                      6                           Acrylamide in Food Conflicts With His Primary Duty to Defend This
                                                      7                           Duly Adopted Important Public Health Law
                                                      8           The Attorney General has an irreconcilable conflict of interest that arises from his decades
                                                      9   of work supporting the efforts of OEHHA and the Governor to undermine Proposition 65 with
                                                     10   respect to acrylamide in food, while shirking his primary duty of defending Proposition 65 with
                                                     11   respect to acrylamide in food, notwithstanding the political distastefulness of doing so. Indeed, the
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   Attorney General has refused CERT’s request that he recuse himself from defending Proposition 65
metzger law group




                                                     13   in this case and appoint independent counsel to defend Proposition 65 in this case, notwithstanding
                                                     14   his irreconcilable conflict of interest in defending this case. (Metzger Decl. ¶¶ 59-64; Exhibit “N”)
                                                     15           When CERT’s counsel threatened to file a motion to disqualify the Attorney General in this
                                                     16   case, the Attorney General claimed, perhaps correctly, that a motion by CERT to disqualify him in
                                                     17   this case would be frivolous, because “[a]s a threshold matter, CERT lacks Article III standing,”
                                                     18   because “[t]o have standing to seek disqualification of counsel, a party normally must be a current
                                                     19   or former client of the counsel whose disqualification is sought.” Colyer v. Smith, 50 F. Supp. 2d
                                                     20   at 969, 971 (C.D. Cal. 1999); Simonca v. Mukasey, No. CIV S-08-1453, 2008 WL 5113757, at *3
                                                     21   (E.D. Cal. Nov. 25, 2008). See Kasza v. Browner, 133 F.3d 1159, 1171 (9th Cir. 1998). (Metzger
                                                     22   Decl. Exhibit “N”)
                                                     23           The Attorney General also claimed, perhaps correctly, that “in demanding the appointment
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   of an independent counsel, CERT would effectively be seeking a writ or injunction directing the

                                                     25   Attorney General in the execution of his duties under California law, which is . . . inappropriate.”

                                                     26           The Attorney General also asserted, perhaps correctly, that “federal district courts are without

                                                     27   power to issue mandamus to direct state courts, state judicial officers, or other state officials in the

                                                     28   performance of their duties,” because “[a] petition for a writ of mandamus to compel a state court
                                                                                                           15
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 21 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   or official to take or refrain from some action is frivolous as a matter of law.” Todd v. McElhany,
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   No. CIV S-11-2346, 2011 WL 5526464 at *2 (E.D. Cal. Nov. 14, 2011) (citing, inter alia, Demos
                                                      3   v. U.S. District Court, 925 F.2d 1160, 1161 (9th Cir. 1991)).
                                                      4          The Attorney General also asserted, perhaps correctly, that “a federal court abuses its
                                                      5   discretion if it enters an injunction that “requires any more of state officers than demanded by federal
                                                      6   constitutional or statutory law.” Katie A. ex. rel. Ludin v. Los Angeles Cty., 481 F.3d 1150, 1155 (9th
                                                      7   Cir. 2007); Clark v. Coye, 60 F.3d 600, 603-04 (9th Cir. 1995) (holding that an injunction against
                                                      8   a state agency must not “require more of state officials than is necessary to ensure their compliance
                                                      9   with federal law”) (emphasis added).
                                                     10          Assuming that the Attorney General is correct in making these assertions, as appears may be
                                                     11   the case, CERT would lack standing to seek to disqualify the Attorney General in this case and to
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   request the Court to appoint independent counsel to represent the public interest in this case by
metzger law group




                                                     13   defending Proposition 65 with respect to acrylamide in food, and the Court itself would lack the
                                                     14   authority (1) to grant such a motion by CERT, (2) to order the Attorney General to appoint
                                                     15   independent counsel to defend this case, and (3) to appoint independent counsel to defend this case.
                                                     16          It therefore appears that neither CERT nor the Court can undertake any action to remedy the
                                                     17   absence of an “honest and actual antagonistic assertion of rights” between the only named plaintiff
                                                     18   and the only named defendant in this case, so as to satisfy this essential jurisdictional requirement.
                                                     19   Accordingly, the absence of an “honest and actual antagonistic assertion of rights” between the
                                                     20   Plaintiff and the Defendant in this case is irremediable, so the Court should, indeed must, dismiss
                                                     21   this case for lack of a justiciable case and controversy under Article III. U.S. v. Johnson, 319 U.S.
                                                     22   302, 305, 63 S. Ct. 1075, 1076–77, 87 L. Ed. 1413 (1943); Center for Biological Diversity v. United
                                                     23   States Forest Service, 925 F.3d 1041, 1047 (9th Cir. 2019).
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24
                                                     25          6.      THIS COURT DOES NOT HAVE BEFORE IT THE REAL PARTIES IN

                                                     26                  INTEREST OR AN ACTUAL CASE OR CONTROVERSY BETWEEN

                                                     27                  PERSONS WHO ARE REAL PARTIES IN INTEREST

                                                     28          “[T]he U.S. Constitution, Art. III, Sec. 2, requires that a federal court have before it the real
                                                                                                           16
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 22 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   parties in interest and an actual case or controversy between those parties.” In re Fry, 2015 WL
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   572315 at 12 (Bankr. Ct. E.D. Cal. 2015), citing Elk Grove Unified School Dist. v. Newdow, 542
                                                      3   U.S. 1, 11–12 (2004). In this case, neither the plaintiff nor the defendant is a real party in interest.
                                                      4                   A.      CalChamber Is Not A Real Party In Interest in This Case; Moreover, It
                                                      5                           Has Refused to Identify Those of its Members Who May Be Real Parties
                                                      6                           in Interest in This Case, Let Alone Join Them as Parties Plaintiff in This
                                                      7                           Case
                                                      8           CalChamber filed this case alleging representational standing on behalf of its members, rather
                                                      9   than organizational standing in its own right. Since CalChamber only asserts representational
                                                     10   standing on behalf of its members who claim to be harmed by Proposition 65, it is the members of
                                                     11   CalChamber that CalChamber claims to represent that would be the real parties in interest in this
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   case. However, CalChamber has repeatedly refused to identify even a single one of its members that
metzger law group




                                                     13   has allegedly been harmed by the Proposition 65 warning requirement (Metzger Decl. Exhibit “E”),
                                                     14   let alone join any of its members allegedly harmed by the warning requirement as parties Plaintiff.
                                                     15           In the Joint Status Report of the parties filed July 14, 2021 [ECF No. 144], CERT informed
                                                     16   the Court that it needed to undertake discovery, inter alia, to ascertain “the identities of CalChamber
                                                     17   members who claim to have been injured as a result of the requirement for health warnings
                                                     18   concerning acrylamide in food products.” CalChamber objected to all of the discovery sought by
                                                     19   CERT, stating that it “believes that this information is not relevant to the issues in this case and
                                                     20   therefore is not discoverable at any stage,” let alone in CalChamber’s initial disclosures. [ECF No.
                                                     21   144 at 7:13-14] CalChamber also objected that discovery of those members of CalChamber who
                                                     22   might be Real Parties in Interest would violate “the First Amendment right to freedom of association
                                                     23   (e.g., the identity of CalChamber members) and advised that “[s]hould such discovery be sought as
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   to CalChamber, CalChamber will seek a protective order.” [ECF No. 144 at 8:2-8]

                                                     25           On September 30, 2021, after three district court judges (Judges Mueller, Mendez and

                                                     26   Morris) recused themselves from this case and the case was assigned to Judge Shubb, CERT’s

                                                     27   counsel wrote to counsel for CalChamber, expressing concern regarding potential judicial conflicts

                                                     28   of interest with unidentified Real Parties in Interest:
                                                                                                            17
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 23 of 31
                                                                                              F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1                   We are concerned by the number of judges who have found it
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com

                                                                          necessary to recuse themselves from this case and want to be sure that
                                                      2                   whatever judge actually presides over this case can properly do so.
                                                                          In its pleadings in this case CalChamber has acknowledged that
                                                      3                   CalChamber itself has sustained no organization injury and that it
                                                                          brings this case solely in a representative capacity on behalf of its
                                                      4                   members who claim to have been harmed by the cancer hazard
                                                                          warning requirement of Proposition 65 regarding acrylamide in food.
                                                      5                   Since it is those entities that are the real parties in interest in this case,
                                                                          we believe that you should identify them all so that Judge Shubb can
                                                      6                   determine whether he has conflicts of interest with respect to the real
                                                                          parties in interest in this case. While we can identify those companies
                                                      7                   who have been sued in Proposition 65 cases regarding acrylamide in
                                                                          food and may also be able to identify those companies who have
                                                      8                   received notices of violations of acrylamide in food, we do not know
                                                                          which of them are members of the California Chamber of Commerce
                                                      9                   and hence are the real parties in interest in this case. We believe that
                                                                          you, as CalChamber’s counsel, are in the best position to do this, so
                                                     10                   we respectfully ask you to do so. . . .
                                                     11
               555 east ocean boulevard, suite 800




                                                          (Metzger Decl. Exhibit “D”)
                 a professional law corporation
                  long beach, california 90802




                                                     12
metzger law group




                                                                  Counsel for CalChamber responded to this request as follows:
                                                     13
                                                                          We do not believe that the identity of CalChamber’s members is
                                                     14                   relevant to any possible conflict of interest. If a judge owns a
                                                                          material interest in a company whose finances may be materially
                                                     15                   affected by the outcome of this case, it does not matter whether that
                                                                          company is a member of CalChamber or not. The subject matter of
                                                     16                   the case is thoroughly disclosed in the complaint such that the judge
                                                                          or his advisors can evaluate this issue.
                                                     17
                                                                          . . . . The identity of CalChamber’s members is protected from
                                                     18                   disclosure by the First Amendment right to freedom of
                                                                          association. See, e.g., NAACP v. Alabama, 357 U.S. 449, 460 (1958).
                                                     19                   CalChamber has made clear that if CERT seeks this information in
                                                                          discovery, CalChamber will seek a protective order. See Joint Status
                                                     20                   Report (July 14, 2021) (ECF No. 144).
                                                     21
                                                          (Metzger Decl. Exhibit “F”)
                                                     22
                                                                  Since CalChamber has refused to identify its members who are the Real Parties in Interest
                                                     23
               occupational & environmental lung
               disease, cancer, and toxic injuries




                                                          and since CalChamber asserts that such information is privileged, Real Parties in Interest cannot be
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24
                                                          joined as Plaintiffs in this case, so this case does not present a case or controversy within Article III.
                                                     25
                                                          //
                                                     26
                                                          //
                                                     27
                                                          //
                                                     28
                                                                                                                            18
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 24 of 31
                                                                                           F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   //
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2
                                                      3                  B.      The Attorney General Also Is Not a Real Party in Interest in This Case,
                                                      4                          Because He Has Not Filed Any Proposition 65 Case Regarding
                                                      5                          Acrylamide in Food, Nor Have Either of His Two Predecessor Attorneys
                                                      6                          General Filed Any Such Cases
                                                      7          The only defendant whom CalChamber sued in this case was Xavier Becerra in his official
                                                      8   capacity as Attorney General of the State of California. Mr. Becerra served as Attorney General
                                                      9   from January 2017 to March 2021. After Mr. Becerra’s appointment as U.S. Secretary of Health and
                                                     10   Human Services, Governor Newsom appointed Rob Bonta to succeed Mr. Becerra as Attorney
                                                     11   General. Mr. Bonta has held the position of Attorney General since April 2021. Neither Mr. Becerra
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   nor Mr. Bonta has ever filed a Proposition 65 case on behalf of the People. Kamala Harris preceded
metzger law group




                                                     13   Mr. Becerra as California Attorney General. She served as Attorney General from January 2011 to
                                                     14   January 2017. She too never filed a Proposition 65 case on behalf of the People, although she
                                                     15   “inherited” two Proposition 65 cases regarding acrylamide in food from her predecessor, Edmund
                                                     16   G. Brown, who served as Attorney General from January 2007 to January 2011. See People v.
                                                     17   Snyder’s of Hanover, Inc., et al., Alameda County Superior Court Case No. RG 09455286, filed June
                                                     18   1, 2009. Thus, it has been more than 10 years since the Attorney General filed a Proposition 65 case
                                                     19   regarding acrylamide in foods or beverages. (Metzger Declaration ¶ 68)
                                                     20          According to this Court’s determination in its Preliminary Injunction Order, “since [the
                                                     21   Chamber] filed its complaint, private enforcers have served 391 pre-litigation notices and filed 43
                                                     22   new Proposition 65 lawsuits in state courts for alleged exposures to acrylamide in food.” “In 2019
                                                     23   alone, there were 205 notices (up from 147 notices in 2018), and private enforcers show no signs of
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   slowing down, serving more than 400 notices to date in 2020.” (Order Granting Preliminary

                                                     25   Injunction [ECF 114 at p. 29, lines 10-15]). Thus, every single one of the hundreds of Proposition

                                                     26   65 lawsuits regarding acrylamide in food that have been filed during the past 10 years were filed by

                                                     27   private enforcers, rather than by the Attorney General.

                                                     28          Although the hundreds of Proposition 65 lawsuits regarding acrylamide in food filed in the
                                                                                                        19
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 25 of 31
                                                                                              F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   past 10 years were all filed by private enforcers rather than the Attorney General, the only defendant
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   whom CalChamber sued in this case is the Attorney General. Furthermore, while CalChamber’s
                                                      3   Amended Complaint has many allegations about private enforcement actions, it does not (and cannot)
                                                      4   allege that the Attorney General is currently prosecuting any Proposition 65 cases against any of its
                                                      5   members, nor that he intends to file any such actions in the future. The absence of any such
                                                      6   allegation by CalChamber is fatal, because the Supreme Court has long held that in cases “brought
                                                      7   against the State’s prosecuting officials,” “the mere existence of a state penal statute would constitute
                                                      8   insufficient grounds to support a federal court's adjudication of its constitutionality . . . if real threat
                                                      9   of enforcement is wanting.” Poe v. Ullman, 367 U.S. 497, 507 (1961) (emphasis added). The same
                                                     10   is true in this case, in which CalChamber has named the State, and only the state, in each of its two
                                                     11   complaints. Furthermore, the requirements for justiciability are just as applicable to claims arising
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   under section 1983 as they are for claims of constitutional violations more broadly. See, e.g., Lopez
metzger law group




                                                     13   v. Candaele, 630 F.3d 775, 785 (9th Cir. 2010) (plaintiff seeking to bring a section 1983 claim must
                                                     14   demonstrate a “credible threat of prosecution”).
                                                     15           In Thomas v. Anchorage Equal Rights Commission, 220 F.3d 1134 (9th Cir. 2000), plaintiff
                                                     16   landlords opposed an anti-discrimination law requiring landlords to rent to unmarried couples, and
                                                     17   they sued the city for declaratory and injunctive relief, alleging that enforcement of the law violated
                                                     18   their rights to free speech and free exercise of religion. The district court enjoined enforcement of
                                                     19   the law, but the Ninth Circuit reversed, finding that the matter lacked a case or controversy within
                                                     20   the meaning of Article III.
                                                     21           According to the Court, “[i]n evaluating the genuineness of a claimed threat of prosecution,
                                                     22   we look to whether the plaintiffs have articulated a ‘concrete plan’ to violate the law in question,
                                                     23   whether the prosecuting authorities have communicated a specific warning or threat to initiate
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   proceedings, and the history of past prosecution or enforcement under the challenged statute.” Id.

                                                     25   at 1139 (citing Stoianoff v. State of Mont., 695 F.2d 1214, 1223 (9th Cir. 1983)).

                                                     26           In the first step of its analysis, the Court found that the plaintiffs had not established a

                                                     27   “concrete plan” to violate the law, because they had failed to allege when or where they had violated

                                                     28   it in the past, and when or where they intended to in the future. See id. at 1139. This threshold factor
                                                                                                            20
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 26 of 31
                                                                                             F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   is not an issue in the present case, because CalChamber’s First Amended Complaint [ECF 57]
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   alleges that acrylamide occurs in many different kinds of food (¶18), and that it is so widespread that
                                                      3   it is not feasible to completely eliminate acrylamide exposure (¶19). CalChamber goes on to allege
                                                      4   that “many” of its members “produce, distribute, or sell acrylamide-containing food products” (¶7;
                                                      5   64), and that many of CalChamber’s members must either provide warnings to California consumers
                                                      6   or face enforcement actions for failing to do so (¶8).
                                                      7           In the second step of its analysis, the Thomas court found that there had been no showing
                                                      8   made of a specific threat of enforcement that would give rise to a case or controversy. On the
                                                      9   contrary, the Court found that “[t]here has been no specific threat or even hint of future enforcement
                                                     10   or prosecution. Nor could there be, as neither [plaintiff] can identify any tenants turned away due to
                                                     11   their marital status and no prospective tenant has ever complained to the state or municipal
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   authorities, formally or informally.” Id. at 1140. This holding mirrored a long line of cases in which
metzger law group




                                                     13   the mere possibility of prosecution has been held inadequate to establish a case or controversy. See,
                                                     14   e.g., San Diego County Gun Rights Committee v. Reno, 98 F.3d 1121, 1128 (9th Cir. 1996)
                                                     15   (“Plaintiffs have established at most a possibility of their eventual prosecution under the [statute],
                                                     16   which is clearly insufficient to establish a “case or controversy.”). It must also be noted that it is the
                                                     17   Plaintiff who bears the burden of showing that the State will enforce Proposition 65 against its
                                                     18   members. See San Diego County Gun Rights Committee v. Reno, 98 F.3d 1121, 1127 (9th Cir.
                                                     19   1996) (“A further flaw in plaintiffs' threat-of-prosecution argument is the absence of any threat by
                                                     20   the government to prosecute them. Plaintiffs bear the burden of showing that the [statute] is actually
                                                     21   being enforced.”). In this case, CalChamber has not made such a showing, and cannot do so.
                                                     22           Lastly, the Thomas court looked to whether the plaintiffs had shown a past pattern or practice
                                                     23   of enforcement by the state, and noted that “in the twenty-five years that these housing laws have
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   been on the books, the record does not indicate even a single criminal prosecution, and of the two

                                                     25   reported instances of civil enforcement, only one raised the freedom of religion issue presented

                                                     26   here.” Thomas, supra, 220 F.3d at 1140. Similarly, in this case, the Attorney General has not

                                                     27   undertaken any new cases involving acrylamide in over a decade.

                                                     28           There are sometimes grounds to find a case or controversy in cases where the subject statute
                                                                                                          21
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 27 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   has not been enforced, such as when the statute has been recently adopted, such that the state has not
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   yet had an opportunity for enforcement. See, e.g., San Luis & Delta-Mendota Water Authority v.
                                                      3   Salazar, 638 F.3d 1163, 1173 (9th Cir. 2011). However, in the case of a longstanding penal statute,
                                                      4   courts have consistently held that a case or controversy is not present if the state’s lack of
                                                      5   enforcement of the statute is coupled with a showing that the statute has been “commonly and
                                                      6   notoriously” violated by those against whom the statute would be enforced. See Poe v. Ullman,
                                                      7   supra, 367 U.S. at 507. Ninth Circuit case law is in accord. See San Francisco County Democratic
                                                      8   Central Committee v. Eu, 826 F.2d 814, 822 (9th Cir. 1987) (“This case, however, is distinguishable
                                                      9   from Poe in that here we have no record that the relevant provisions have been ‘commonly and
                                                     10   notoriously’ violated.”). See also Libertarian Party of Los Angeles County v. Bowen, 709 F.3d 867,
                                                     11   872 (9th Cir. 2013) (“Because the challenged provisions have not been ‘commonly and notoriously’
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   violated, the ‘record of nonenforcement’ is not the end of the inquiry.”).
metzger law group




                                                     13          In this case, the “common and notorious” test weighs in favor of dismissal for lack of a case
                                                     14   or controversy, because there can be no doubt that CalChamber’s members have commonly and
                                                     15   notoriously sold a vast array of acrylamide-containing products in the State of California without
                                                     16   Proposition 65 warnings. Cal Chamber itself concedes that fact, with a First Amended Complaint
                                                     17   that describes 660 notices of violation pertaining to acrylamide in a myriad of food and beverage
                                                     18   products. [ECF 57 at ¶¶56-57]. In addition, the defendants in the coffee case, including large
                                                     19   retailers such as Starbucks, Costco, Keurig, Target and Walmart, stipulated that they had sold
                                                     20   acrylamide-containing coffee products with Proposition 65 warnings. (Metzger Decl. Ex. “B”)
                                                     21          In both the original and amended complaints, CalChamber did not sue any private enforcers,
                                                     22   but instead sought to enjoin the private enforcers as persons “in privity with and/or acting in concert
                                                     23   with [the Attorney General] or any of its officers, employees, or agents.” Furthermore, the Plaintiff
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   in this case (CalChamber) has never been sued for violating Proposition 65 with respect to

                                                     25   acrylamide in food. The Defendant in this case (the current Attorney General) has never filed a

                                                     26   Proposition 65 case regarding acrylamide in food, nor have his two immediate predecessors, and the

                                                     27   last Attorney General to file such a suit did so more than 10 years ago.

                                                     28          Thus, neither of the parties to this case is a Real Party in Interest. CalChamber purports to
                                                                                                            22
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 28 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   sue not in its organizational capacity, but instead in a representational capacity on behalf of some
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   of its members (who might be Real Parties in Interest if they actually desired to file suit); the
                                                      3   Attorney General is not sued for any actions he has undertaken, but rather because he is alleged to
                                                      4   be “in privity with and/or acting in concert” with private enforcers who are not parties to this case.
                                                      5          Since neither CalChamber nor the Attorney General are the Real Parties in Interest, the
                                                      6   requirement of Art. III, Sec. 2 that “a federal court have before it the real parties in interest and an
                                                      7   actual case or controversy between those parties” is not satisfied. In re Fry, 2015 WL 572315 at 12
                                                      8   (Bankr. E.D.Cal. 2015), citing Elk Grove Unified School Dist. v. Newdow, 542 U.S. 1, 11–12 (2004).
                                                      9          In its order staying this Court’s preliminary injunction, the Ninth Circuit observed that “the
                                                     10   preliminary injunction prohibits lawsuits brought under Proposition 65 with regard to acrylamide
                                                     11   exposure by any private actor, including those who are not parties to the underlying action.”
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   (Emphasis by the Court). The Ninth Circuit found this troublesome, writing: “The breadth of the
metzger law group




                                                     13   injunction exacerbates the concerns underlying the prior restraint doctrine and so the likelihood of
                                                     14   success on the merits.” (Metzger Decl. Exhibit “C” at pp. 2-3).
                                                     15          Thus, it matters that the private enforcers who have served so many notices of violations and
                                                     16   filed so many Proposition 65 cases regarding acrylamide in food during the past few years are not
                                                     17   before the Court. While the Ninth Circuit was concerned that this court’s order enjoined nonparties
                                                     18   from exercising their First Amendment petition rights by filing Proposition 65 lawsuits regarding
                                                     19   acrylamide in food, this Court should be (and must be) concerned that the absence of those private
                                                     20   enforcers from this case deprives this Court of jurisdiction for lack of “an actual case or controversy
                                                     21   between” real parties in interest. In re Fry, 2015 WL 572315 at 12 (Bankr. Ct. E.D. Cal. 2015),
                                                     22   citing Elk Grove Unified School Dist. v. Newdow, 542 U.S. 1, 11–12 (2004).
                                                     23          Finally, since both CalChamber and the Attorney General – the only named plaintiff and only
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   named defendant – have actively opposed intervention in this case by private enforcers who sought

                                                     25   to intervene upon learning that they were enjoined by this court from exercising their First

                                                     26   Amendment right [ECF Nos. 130, 131, 140, 141, 145, 146], and since the Court has already accepted

                                                     27   those arguments of CalChamber and the Attorney General, the absence of real parties in interest and

                                                     28   “an actual case or controversy between those parties” cannot be remedied to cure the jurisdictional
                                                                                                         23
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 29 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   defect arising from their absence — lack of an actual case or controversy such real parties in interest.
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2
                                                      3           7.      THE STATE HAS INITIATED A RULEMAKING PROCEEDING TO
                                                      4                   ADOPT 27 CCR § 25607.2(b) WHICH WILL MOOT THIS CASE, THEREBY
                                                      5                   ELIMINATING ANY CASE OR CONTROVERSY IF ONE EVER EXISTED
                                                      6           CalChamber filed this case seeking to enjoin the initiation of notices of violations and the
                                                      7   filing and prosecution of Proposition 65 cases regarding acrylamide in food, claiming that the
                                                      8   statutorily required warning that “this product contains acrylamide, a chemical known to the State
                                                      9   to cause cancer” is false and misleading, because, according to CalChamber, acrylamide is not a
                                                     10   known human carcinogen, but is merely a probable human carcinogen. To address CalChamber’s
                                                     11   concern, on September 17, 2021, OEHHA proposed the adoption of a new regulation, 27 CCR §
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   25607.2(b), which would merely require a warning for food exposures to acrylamide that
metzger law group




                                                     13   “[c]onsuming this product can expose you to acrylamide, a probable human carcinogen formed in
                                                     14   some foods during cooking or processing at high temperatures.” (Metzger Decl. Exhibit “O”)
                                                     15           Acrylamide is classified by the International Agency for Research on Cancer as a “probable
                                                     16   human carcinogen.” Thus, the regulation will render the required warning indisputably true and not
                                                     17   misleading, and will moot CalChamber’s claim that the warning violates the First Amendment.
                                                     18           In issuing the preliminary injunction in this case, Judge Mueller found that “many public
                                                     19   health authorities have concluded that exposure to acrylamide probably increases the risk of cancer
                                                     20   in people,” that “[t]he U.S. National Toxicology Program . . . has said that acrylamide is ‘reasonably
                                                     21   anticipated to be a human carcinogen,’” that “[t]he U.S. Environmental Protection Agency has found
                                                     22   that acrylamide is ‘likely to be carcinogenic in humans,’” and that “a World Health Organization
                                                     23   (WHO) committee that includes representatives from the FDA has concluded that acrylamide is
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24   carcinogenic.” [ECF 114, 4:4-12]

                                                     25           Judge Mueller issued a preliminary injunction enjoining the filing of new Proposition 65

                                                     26   cases regarding acrylamide in food upon concluding that the statutory warning that this product

                                                     27   “contains a chemical known to the state to cause cancer” was likely false and misleading, because

                                                     28   it implied that acrylamide was added to foods and because the scientific evidence did not establish
                                                                                                          24
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 30 of 31
                                                                                            F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1   that acrylamide is known to cause human cancer – that acrylamide is merely a probable human
                    telecopier (562) 436-1561
                    telephone (562) 437-4499
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2   carcinogen. However, Judge Mueller also concluded that “[t]he problems posed by the safe harbor
                                                      3   warning could have been avoided,” that “[t]he State could allow business to explain that acrylamide
                                                      4   forms naturally when some foods are prepared” and “[i]t could permit business to say that California
                                                      5   has listed acrylamide as a chemical that ‘probably’ causes cancer or is a ‘likely’ carcinogen . . . .”
                                                      6   [ECF 114, 24:3-6] That is exactly what the State has now done. “The case or controversy
                                                      7   requirement of Article III . . . deprives federal courts of jurisdiction to hear moot cases.” Native
                                                      8   Village of Nuiqsut v. Bureau of Land Mgmt, 9 F.4th 1201,1208 (9th Cir. 2021).
                                                      9          Since the proposed regulation (which will be adopted upon compliance with the notice,
                                                     10   hearing and other requirements of the California Administrative Procedure Act) will moot
                                                     11   CalChamber’s claim in this case (which is based entirely on the required warning constituting false
               555 east ocean boulevard, suite 800
                 a professional law corporation
                  long beach, california 90802




                                                     12   compelled speech), the present case does not present a case or controversy under Article III, even
metzger law group




                                                     13   if this case ever did present a case or controversy within this Court’s Article III jurisdiction.
                                                     14
                                                     15          8.      CONCLUSION
                                                     16          For all the foregoing reasons, this action does not present a case or controversy within this
                                                     17   court’s Article III jurisdiction. Accordingly, this court should, indeed must, grant the present motion
                                                     18   and dismiss this case on this fundamental ground.
                                                     19
                                                     20   DATED: November 1, 2021                           METZGER LAW GROUP
                                                                                                            A Professional Law Corporation
                                                     21
                                                     22
                                                                                                                /s/ Raphael Metzger
                                                     23                                                     ______________________________
               occupational & environmental lung
               disease, cancer, and toxic injuries




                                                                                                            RAPHAEL METZGER, ESQ.
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24                                                     Attorneys for Plaintiff
                                                                                                            COUNCIL FOR EDUCATION AND
                                                     25                                                     RESEARCH ON TOXICS (“CERT”)
                                                     26
                                                     27
                                                     28
                                                                                                                          25
                                                                  INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                  IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
                                                     Case 2:19-cv-02019-DAD-JDP Document 192-1 Filed 11/01/21 Page 31 of 31
                                                                                                   F:\WP\Cases\1887\PLEADMOT\DISMISS\Motion to Dismiss - Lack of Jurisdiction\Memorandum of Points and Authorities Final-Final-Final.wpd




                                                      1
                    telecopier (562) 436-1561
                    telephone (562) 437-4499



                                                                                                    CERTIFICATE OF SERVICE
                        toll-free (877) tox-tort
                              www.toxictorts.com


                                                      2
                                                      3            I hereby certify that on November 1, 2021. I caused the foregoing document, described as
                                                      4   INTERVENOR-DEFENDANT CERT'S MEMORANDUM OF POINTS AND AUTHORITIES IN
                                                      5   SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY to be
                                                      6   electronically filed with the Court’s CM/ECF filing system, which will send a Notice of Electronic Filing
                                                      7   to all parties of record who are registered with CM/ECF:
                                                      8   Trenton H. Norris, Esq.                                                          Megan Hey, Deputy Attorney General
                                                          Sarah Esmaili, Esq.                                                              Office of the Attorney General
                                                      9   S. Zachary Fayne, Esq.                                                           300 S. Spring St., Suit e1702
                                                          David M. Barnes, Esq.                                                            Los Angeles, CA 90013
                                                     10   Arnold & Porter Kaye Scholer LLP                                                 Telephone: (213) 269-6344
                                                          Three Embarcadero Center, 10th Flr.                                              email: megan.hey@doj.ca.gov
                                                     11
               555 east ocean boulevard, suite 800




                                                          San Francisco, CA 94111-4024
                 a professional law corporation




                                                          (Plaintiff)                                                                      Rafael J. Hurtado, Deputy Attorney General
                  long beach, california 90802




                                                     12   Telephone: (415) 471-3100                                                        State of California Department of Justice
metzger law group




                                                          email: trent.norris@arnolderporter.com                                           Office of the Attorney General
                                                     13                                                                                    600 West Broadway, Suite 1800
                                                          Laura J. Zuckerman, Deputy Attorney General                                      San Diego, CA 92101
                                                     14   Office of the Attorney General                                                   (Defendant)
                                                          1515 Clay St., 20th Flr.                                                         Telephone (619) 321-5780
                                                     15   Oakland, CA 94612                                                                email: rafael.hurtado@joj.ca.gov
                                                          (Defendant)
                                                     16   Telephone: (510) 879-0098                                                        Aida Poulsen, Esq.
                                                          email: laura.zuckerman@doj.ca.gov                                                Poulsen Law P.C.
                                                     17                                                                                    282 11th Ave., Suite 2612
                                                                                                                                           New York, NY 10001
                                                     18                                                                                    (Intervenors-Defendants)
                                                                                                                                           email: ap@poulsenlaw.org
                                                     19
                                                     20            I declare that I am employed in the offices of a member of this court, at whose direction service
                                                     21   was made.
                                                     22            Executed on November 1, 2021, at Long Beach, California.
                                                     23
               occupational & environmental lung
               disease, cancer, and toxic injuries
               tort & environmental litigation
               Practice concentrated in toxic




                                                     24                                                                             /s/ Nina S. Vidal
                                                                                                                            __________________________________
                                                     25                                                                     Nina S. Vidal, Declarant
                                                     26
                                                     27
                                                     28
                                                                                                                                 26
                                                                    INTERVENOR-DEFENDANT CERT’S MEMORANDUM OF POINTS AND AUTHORITIES
                                                                    IN SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF A CASE OR CONTROVERSY
